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     Assistant U.S. Attorney
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 4   Fresno, CA   93721
     Telephone: (559) 497-4000
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 8                       UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA       ) Case No. 1:09-cr-00202 AWI
                                    )
12                  Plaintiff,      ) STIPULATION AND
                                    ) ORDER FOR EXTENSION OF TIME
13               v.                 ) FOR GOVERNMENT TO FILE RESPONSE
                                    ) TO DEFENDANT’S MOTION TO
14   PAUL CALVO, et al,             ) DISMISS AND CONTINUANCE OF
                                    ) HEARING THEREON
15                                  )
                    Defendant.      )
16   _______________________________)
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          IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
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     United States Attorney and Kimberly A. Sanchez, Assistant U.S.
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     Attorney and Robert Wilkinson, John F. Garland, and Dale
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     Blickenstaff, attorneys for defendants, that the due date for the
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     government’s response to defendant’s motion to dismiss be
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     extended to December 21, 2009, that the defendant’s reply be
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     extended to December 31, 2009, and that the hearing be continued
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     from December 18, 2009 to January 8, 2010 at 9:00 a.m.
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          Counsel for all parties have discussed the matter and
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     defendants’ attorneys have no objection to the request.
27
28
              Case 1:09-cr-00202-DAD Document 51 Filed 12/15/09 Page 2 of 2


 1   Dated: December 11, 2009                    Respectfully submitted,
 2                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 3
 4                                       By       /s/ Kimberly A. Sanchez
                                                 KIMBERLY A. SANCHEZ
 5                                               Assistant U.S. Attorney
 6   Dated: December 11, 2009                     /s/ Robert Wilkinson
                                                 ROBERT WILKINSON
 7                                               Attorney for Paul Calvo
 8   Dated: December 11, 2009                     /s/John F. Garland
                                                 JOHN F. GARLAND
 9                                               Attorney for Jesse Martinez
10   Dated: December 11, 2009                     /s/Dale Blickenstaff
                                                 DALE BLICKENSTAFF
11                                               Attorney for Armando Lazaro
12
13                                       ORDER
14   IT IS SO ORDERED.
15   Dated:   December 14, 2009               /s/ Anthony W. Ishii
     0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
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